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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF MARYLAND

                                                  *
PETER KIMA,                                       *
                                                  *
        Plaintiff,                                *
                                                  *
                v.                                * Civil Case No. RWT 14cv2281
                                                  *
                                                  *
COMPASS, INC.,                                    *
                                                  *
        Defendant.                                *
                                                  *

                                             ORDER

        Upon consideration of Defendant’s Partial Motion to Dismiss [ECF No. 10], Plaintiff’s

Motion for Leave to File Amended Complaint [ECF No. 18], Plaintiff’s Motion for Leave to File

Surreply [ECF No. 19], the Joint Motion to Modify the Scheduling Order [ECF No. 28], the

oppositions and replies thereto, the arguments presented by counsel at a hearing held before the

undersigned on April 13, 2015, and for the reasons stated on the record, it is, this 28th day of

April, 2015, by the United States District Court for the District of Maryland,

        ORDERED, that Defendant’s Partial Motion to Dismiss [ECF No. 10] is GRANTED;

and it is further

        ORDERED, that Plaintiff’s Complaint is DISMISSED to the extent it alleges Defendant

improperly failed to promote Plaintiff and constructively discharged Plaintiff; and it is further

        ORDERED, that the following portions of the Complaint are STRICKEN: ¶¶ 12, 13,

14, 30, 38 and 42 in their entirety, and ¶ 45 to the extent it purports to claim damages related to

Plaintiff’s resignation; and it is further
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       ORDERED, that Plaintiff’s Motion for Leave to File Amended Complaint [ECF No. 18]

is DENIED; and it is further

       ORDERED, that Plaintiff’s Motion for Leave to File Surreply [ECF No. 19] is

DENIED; and it is further

       ORDERED, that the Joint Motion to Modify Scheduling Order [ECF No. 28] is

GRANTED; and it is further

       ORDERED, that the scheduling order is AMENDED as follows:

        New Date              Prior Date                     Item
    July 3, 2015            April 3, 2015       Plaintiff's Rule 26(a)(2) disclosures
    August 4, 2015          May 4, 2015         Defendant's Rule 26(a)(2)
                                                disclosures
   August 19, 2015          May 19, 2015        Plaintiff's rebuttal Rule 26(a)(2)
                                                disclosures
   August 25, 2015          May 25, 2015        Rule 26(e)(2) supplementation of
                                                disclosures and responses
  September 17, 2015        June 17, 2015       Discovery deadline; submission of
                                                status report
  September 24, 2015        June 24, 2015       Requests for admission
  October 17, 2015          July 17, 2015       Dispositive pretrial motions deadline




                                                             /s/
                                                          ROGER W. TITUS
                                                  UNITED STATES DISTRICT JUDGE




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